,_ , ~'-.- _Case 1:16-cr-20549-RNS Document 1186 Entered on FLSD Docket 03/15/2019 Page 1 of 2

United States District Court
for the
Southern District of Florida

United States of America,
Plaintiff

"' criminal case No. 16-20549-cR-

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Phiiip ESfOrmes, 1 Scola

Odette Barcha, )

Arnaldo Carmouze, )
)

Defenda.nts .

Omnibus Order on Pending Motions

Before the Court are a number of pending motions filed by the parties.
After considering the written submissions of the parties, the arguments
presented by Counsel, and being otherwise fully advised, the Court makes the
following rulings:

The Defendant’s Motion in Limine to Exclude Evidence or Argument About
the Quality of Care (ECF No. 1071] is denied but the Court will give an
appropriate limiting instruction to the jury.

The Court grants Norman A. Moscowitz’s Motion to Quash Tria_l Subpoena
(ECF No. 1078) based on the Court’s ex parte in camera review of documents
which have been filed under seal as a Court exhibit

'I`he Defendant’s Motion in Limine to Exclude Evidence or Argument About
Patient Misconduct (ECF No. 1090) is granted in part and denied in part. The
Court excludes evidence of the killing of one patient by another patient. The
Court will give the jury an appropriate limiting instruction relating to other
evidence of patient misconduct

The Government’s Omnibus Motion in Limine (ECF No. 1105) is granted
in part with regard to precluding the Defendant from arguing that he was
entrapped The Defendant must establish by testimony or evidence that he was
entrapped and must seek a jury instruction of entrapment before he is allowed
to argue that he was entrapped

The Government’s Motion in Limine to Preclude Defendant from Ra_ising
Forf`eiture Prior to the Jury’s Verdict [ECF No. 1155) is denied but the Court
will set parameters for discussion prior to closing argument

For the reasons stated on the record, the Court denies Dei`endant’s Motion
for a Daubert Hearing Regarding the Testirnony of Dr. Cifu. (ECF No. 1 166.)

For the reasons stated on the record, the Court denies Defendant’S Motion
for Mistria.l. [ECF No. 1181.)

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Done and Ordered in Chambers at Miami, Florida, on Ma_rch 15, 20

 
 
 

 

Robertl`N. Scola, Jr.
United States District Judge

